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Fill in this information to identify the case:
Debtor Name Preferred Ready-Mix LLC

United States Bankruptcy Court for the: Southern District of Texas

LJ Check if this is an
amended filing

Case number: 21-33369

 

 

Official Form 425C

 

Monthly Operating Report for Small Business Under Chapter 11 12/17

MM/DDIYYYY_
Line of business: CONCRETE NAISC code: 3273

In accordance with title 28, section 1746, of the United States Code, | declare under penalty of perjury
that | have examined the following small business monthly operating report and the accompanying
attachments and, to the best of my knowledge, these documents are true, correct, and complete.

Responsible party: aa Joa es
fo d
Original signature of responsible party ZA en a -

Printed name of responsible party *ROBERT FORAN

= : . Questionnaire

 

 

Answer all questions on behalf of the debtor for the period covered by this report, unless otherwise indicated.

 

Yes No NIA
If you answer No to any of the questions in lines 1-9, attach an explanation and label it Exhibit A.
1. Did the business operate during the entire reporting period? Q) F OQ
2. Do you plan to continue to operate the business next month? wi QO QO
3. Have you paid all of your bills on time? _ Ww Oo Q
4, Did you pay your employees on time? C) C)
5. Have you deposited all the receipts for your business into debtor in possession (DIP) accounts? wi O QO
6. Have you timely filed your tax returns and paid all of your taxes? wi O Q)
7. Have you timely filed all other required government filings? wi QO) Q)
8. Are you current on your quarterly fee payments to the U.S. Trustee or Bankruptcy Administrator? Wi Q) Q)
9. Have you timely paid all of your insurance premiums? wi Q) C)

If you answer Yes to any of the questions in lines 10-18, attach an explanation and label it Exhibit B.
10. Do you have any bank accounts open other than the DIP accounts?
11. Have you sold any assets other than inventory?
12. Have you sold or transferred any assets or provided services to anyone related to the DIP in any way?
13. Did any insurance company cancel your policy?
14. Did you have any unusual or significant unanticipated expenses?

15. Have you borrowed money from anyone or has anyone made any payments on your behalf?

BOOOOcadDO
CHESBRE ASB
OoOoooocvco

16. Has anyone made an investment in your business?

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17,

18.

 

 

Have you paid any bills you owed before you filed bankruptcy?

Oo
bl &
OO

Have you allowed any checks to clear the bank that were issued before you filed bankruptcy?

 

eae 2. Summary of Cash Activity for All Accounts

19.

20.

24.

22.

23.

 

Total opening balance of all accounts 792.00
This amount must equal what you reported as the cash on hand at the end of the month in the previous 6 ASE

month. If this is your first report, report the total cash on hand as of the date of the filing of this case.

Total cash receipts

Attach a listing of all cash received for the month and label it Exhibit C. Include all
cash received even if you have not deposited it at the bank, collections on
receivables, credit card deposits, cash received from other parties, or loans, gifts, or
payments made by other parties on your behalf. Do not attach bank statements in
lieu of Exhibit C.

Report the total from Exhibit C here. $__2,185.00

Total cash disbursements

Attach a listing of all payments you made in the month and label it Exhibit D. List the
date paid, payee, purpose, and amount. Include all cash payments, debit card
transactions, checks issued even if they have not cleared the bank, outstanding
checks issued before the bankruptcy was filed that were allowed to clear this month,
and payments made by other parties on your behalf. Do not attach bank statements

“$
Report the total from Exhibit D here.

Net cash flow

1,334.00
Subtract line 21 from line 20 and report the result here. tee

This amount may be different from what you may have calculated as net profit.

Cash on hand at the end of the month
Add line 22 + line 19. Report the result here.
Report this figure as the cash on hand at the beginning of the month on your next operating report.

= 5 2,126.00

This amount may not match your bank account balance because you may have outstanding checks that
have not cleared the bank or deposits in transit.

 

eat 3. Unpaid Bills

24,

Attach a list of all debts (including taxes) which you have incurred since the date you filed bankruptcy but
have not paid. Label it Exhibit E. Include the date the debt was incurred, who is owed the money, the
purpose of the debt, and when the debt is due. Report the total from Exhibit E here.

Total payables $ 0.00
(Exhibit E)

 

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Debtor Name Preferred Ready-Mix LLC Case number 21-33369

cea 4. Money Owed to You

Attach a list of all amounts owed to you by your customers for work you have done or merchandise you
have sold. Include amounts owed to you both before, and after you filed bankruptcy. Label it Exhibit F.
Identify who owes you money, how much is owed, and when payment is due. Report the total from
Exhibit F here.

25. Total receivables ¢ 664,359.87
(Exhibit F)

 

be 5. Employees

 

 

 

 

 

 

 

26. What was the number of employees when the case was filed? 12
27. What is the number of employees as of the date of this monthly report? 4
a 6. Professional Fees
. How much have you paid this month in professional fees related to this bankruptcy case? $ ___ 9.00
29. How much have you paid in professional fees related to this bankruptcy case since the case was filed? $ __30,000.00
30. How much have you paid this month in other professional fees? $ ___0.00
31. How much have you paid in total other professional fees since filing the case? $ 0.00
| Projections
Compare your actual cash receipts and disbursements to what you projected in the previous month.
Projected figures in the first month should match those provided at the initial debtor interview, if any.
Column A Column B Column C
Projected — Actual = Difference
Copy lines 35-37 from Copy lines 20-22 of Subtract Column B
the previous month’s this report. from Column A.
report.
32. Cash receipts S$ — $ __2,185.00_ ~  § _ 41,833.10
33, Cash disbursements $__ eee = jo +_ S00 pO _ 7 i. ne cas 635.05
34. Net cash flow $s _ SS t eae
Late mci Nees eel iain hp erence
35. Total projected cash receipts for the next month: $_39,648.10
36. Total projected cash disbursements for the next month: =§ 2,347.05
37. Total projected net cash flow for the next month: = 5 23,571.05

 

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Fea 8. Additional Information

 

If available, check the box to the left and attach copies of the following documents.

O) 38.
O 39.
fw 40.
O 41.
O 42.

Bank statements for each open account (redact all but the last 4 digits of account numbers).
Bank reconciliation reports for each account.

Financial reports such as an income statement (profit & loss) and/or balance sheet.

Budget, projection, or forecast reports.

Project, job costing, or work-in-progress reports.

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PREFERRED READY-MIX

Ww

TO WHOM IT MAY CONCERN;

DATED:1/11/2022

SUBJECT: EXHIBIT A

| AM PROVIDING AN EXPLANATION OF WHY WE DID NOT OPERATE THE ENTIRE REPORTING
PERIOD.

IN MID OCTOBER 2021, PREFERRED READY-MIX LLC FILED A CHAPTER 11 BANKRUPTCY. DURING THAT
PROCESS WE HIRED JESSICA HOFF AND ASSUMED THAT SHE WOULD ASSIST IN OBTAINING OUR
EQUIPMENT THAT COURT RECEIVER ROBERT BERLETH ILLEGALLY SEIZED. DURING THAT WHOLE
PROCESS MR. BERLETH WAS AWARE OF THE CHAPTER 11 BANKRUPTCY FILING AND REFUSED TO
RELEASE SEIZED EQUIPMENT.

IN MID OCTOBER 2021, PREFERRED READY MIX LLC HIRED JOYCE LINDAUER TO ASSIST THEM IN THE
CHAPTER 11 BANKRUPTCY FILING DUE TO JESSICA HOFF NOT COMMUNICATING AND ROBERT BERLETHS
ACTIONS. MS. LINDAUER THEN REACHED OUT TO RECEIVER ROBERT BERLETH AND DEMANED
EQUIPMENT RETURNED. IT WAS IN LATE OCTOBER 2021, THE EQUIPMENT WAS RETURNED DAMAGED
AND STOLEN TOOLS AS WELL. IT HAS BEEN A STRUGGLE TO GET THE COMPANY LEVELED OUT DURING
THIS BILL CYCLE BUT HAS NOW STARTED TO LEVEL OUT.

SINCERELY,

 

 
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eS
PREFERRED READY-MIX

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TO WHOM IT MAY CONCERN;

DATED: 1/11/2022

SUBJECT: EXHIBIT
| AM PROVIDING AN EXPLANATION OF WHO MADE AN INVESTMENT

MY NAME IS ROBERT FORAN, DURING THIS PROCESS MY GIRLFRIEND PROVIDED PREFERRED READY-MIX
LLC SEVERAL INVESTMENTS INCLUDING FUNDS TO OBTAIN LEGAL COUNSEL TO FILE THE CHAPTER 11 AS
WELL AS INVESTMENTS INTO THE BUSINESS TO COVER ANY EXPENSES THAT ARE NEEDED. THESE
INVESTMENTS ARE MADE AND NOT EXPECTED TO BE RETURNED TO HER AS SHE HAS NOTIFIED ME SHE
WANTS WHATS BEST FOR PREFERRED READY-MIX LLC.

SINCERELY,

ROBERT FORAN, PRESIDENT OF OPERATIONS.
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Preferred Readymix LLC

Profit and Loss Detail
October 26-31, 2021

XHIBIT D

 

DATE TRANSACTION TYPE NUM NAME MEMO/DESCRIPTION SPLIT AMOUNT BALANCE

 

Ordinary Income/Expenses
Income

Sales
10/26/2021 Deposit TEXAS CONCRETE ENTERPRISE READY MIX INC Counter Credit OPERATING ACCOUNT FOR PRM 1,600.00 1,600.00
10/28/2021 — Invoice 1487 CAMPBELL CONCRETE & MATERIALS, LLC TICKET NO. 10349246 Accounts Receivable (A/R) 495.00 1,795.00
10/28/2021 Invoice 1487 CAMPBELL CONCRETE & MATERIALS, LLC TICKET NO. 10349358 Accounts Receivable (A/R) 495.00 1,990.00
10/28/2021 — Invoice 1487 CAMPBELL CONCRETE & MATERIALS, LLC TICKET NO. 10348932 Accounts Receivable (A/R) 195.00 2,185.00
Total for Sales , 7 $2,185.00
Total for Income : $2,185.00
Cast of Goods Sold
Contractors
10/27/2021 Expense Christian Castillo Customer Withdrawal Image OPERATING ACCOUNT FOR PRM 500.00 500.00
10/29/2021 Expense Christian Castillo Customer Withdrawal Image = OPERATING ACCOUNT FOR PRM 468.00 668.00
10/29/2021 Expense Christian Castillo Customer Withdrawal Image OPERATING ACCOUNT FOR PRM 168.00 836.00
Total for Contractors : $836.00
Total for Gost of Goods Sold $836.00
Net Income $1,349.00

 

Accrual Basis Tuesday, January 11, 2022 02:54 PM GMT-06:00 qi
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A/R Aging Summary
As of January 11, 2022

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CURRENT 1-30 31 - 60 61-90 91 ANDOVER TOTAL
A&t Concrete 4,164.55 $4,164.55
ALAMO CONCRETE -3,449.43 $-3,449.43
ALLDAY CONCRETE 220.00 $220.00
BLUESHARK CONCRETE 3,511.74 $3,511.74
Boswell Concrete Construction 7,140.17 $7,140.17
Budget Ready Mix 5,164.75 $5,164.75
C&M Builders 585.63 $585.63
CAMPBELL CONCRETE & MATERIALS, LLC 16,875.00 $16,875.00
Cemex -460.00 -35,657.64 $ -36,117.64
CHRIS GENERAL CONSTRUCTION -§,263.19 $$ -5,263.19
Concrete Group 1,969.57 $1,969.57
CTC CONCRETE 58,010.41 $58,010.41
D&D READY-MIX 9,480.00 $9,480.00
FIVE STAR READY MIX, LLC 676.50 $676.50
Forte Concrete Solutions 327,468.73 $327,468.73
FX DESIGN LLC 10,879.13 $10,879.13
GULF COAST CONCRETE & SHELL INC 11,242.43 $11,242.43
HERERRA CONCRETE 11,658.16 $11,658.16
Holiday Inn Express & Suites 44,571.59 $44,571.59
HOUSTON COOL POOLS 8,307.59 $8,307.59
JHL CONSTRUCTION 0.00 $0.00
JONATHAN D TALYOR DBA TAYLOR RENOVATIONS 500.00 $500.00
LEGACY DESIGN CONCRETE LLG 29,067.85 $29,067.85
Lopez Asphalt Paving 3,714.27 $3,714.27
Maldonado’s Underground INC 28,147.44 $28,147.44
MONTREI LOCKHART. 1,553.10 $1,553.10
Ms Construction 16,542.51 $16,542.51
OJ ReadyMix -510.00 $ -510,00
PG POSADA GONSTRUCTION 3,514.15 $3,514.15
Pearls Express Inc. 5,000.00 $5,000.00
Pro Foundations Inc 1,228.25 $1,228.25
Rhino Ready Mix, LLC 2,007.75 $2,007.75
ROCKGRETE READYMIX LLC 924,75 $924.75
RODEZ CONTRACTORS 6,732.00 $6,732.00
Rosas Company Services 983.99 $983,99
RUBIO CONCRETE 1,156.00 $1,156.00
Soto Ready Mix 849.50 $849.50
ST. CROIX CUSTOM POOLS LLC 29,496.56 $29,496.56
STEVEN DIAZ 380.00 $380.00
TEXAS CONCRETE ENTERPRISE READY MIX INC -750.00 $ -750.00
TEXAS POOL GROUP 2,945.09 $2,945.09
TEXAS RANCH CUSTOM HOME ING 5,880.00 $5,880.00
Toan Doan 3,590.50 $3,590.50
Tricor Builders -59.75 $ -59.75

Tuesday, January 11, 2022 03:03 PM GMT-06:00

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CURRENT 1-30 31 - 60 61-90 91 ANDOVER TOTAL
Trujillo Construction 33,287.81 $33,287.81
TX SHOTCRETE SOLUTIONS 2,601.66 $2,601.66
U.S Premium Concrete 2,160.75 $2,160.75
Yonel Maldonado 6,320.00 $6,320.00

TOTAL

Tuesday, January 11, 2022 03:03 PM GMT-06:00

$16,875.00 $-750.00 $1,093.10 $19,628.61 $627,513.76 $664,369.87

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